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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

United States of America, et al.
                                              Plaintiff,
v.                                                         Case No.: 1:14−cv−09412
                                                           Honorable Harry D. Leinenweber
Takeda Pharmaceuticals America, Inc., et
al.
                                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 2, 2022:


       MINUTE entry before the Honorable Harry D. Leinenweber: Jury trial held on
8/2/2022. Evidence concluded. Deliberations held and continued to 8/3/2022 at 10:00 a.m.
Mailed notice (maf)




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